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June 7, 2023


Via CM/ECF

The Honorable Maryellen Noreika
J. Caleb Boggs Federal Building
844 N. King Street
Unit 19
Room 4324
Wilmington, DE 19801-3555

Re:    Mac Isaac v. Cable News Network, Inc. et al., No. 1:23-cv-00247-MN

Dear Judge Noreika:

        This firm represents POLITICO LLC (“Politico”) in the above-captioned matter. I
write to update the Court on the status of this action and of the remanded proceeding pending
in the Delaware Superior Court.

        As Your Honor will recall, Plaintiff John Mac Isaac asserted defamation claims against
U.S. Rep. Adam Schiff, Robert Hunter Biden, Politico and Cable News Network, Inc.
(“CNN”) in an action filed in Superior Court. On January 30, 2023, Defendants Politico and
CNN moved to dismiss for failure to state a claim. See ECF 3-61 & 3-68. On March 7 and 8,
the United States removed the case to this Court, moved to substitute for Rep. Schiff and
moved to dismiss for lack of subject matter jurisdiction. See ECF Nos.1, 2, 4. On March 24,
after Plaintiff failed to respond timely to the United States’ motion, this Court dismissed as to
the United States and remanded the case back to the Superior Court. ECF 15, 16. That same
day, Plaintiff moved to set aside the judgment, which motion is fully briefed. ECF 18, 19, 20.

        Plaintiff advised us that instead of opposing our Motion to Dismiss he will amend his
Complaint. Defendants consented to the filing of the amended pleading, and Politico and
CNN notified Plaintiff we will renew the Motion to Dismiss promptly after the amendment is
filed. Plaintiff has represented to Defendants that the Superior Court prothonotary is unwilling
to accept the filing of the amendment until the motion to set aside the judgment pending in
this Court is resolved.
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        In the interest of judicial efficiency, we respectfully request that Plaintiff’s motion to
set aside the judgment be decided as soon as practicably possible so that the parties may move
forward in the appropriate forum. We are available at the Court’s convenience if Your Honor
has any questions about the status of this matter or the pending Motion.



Respectfully,

/s/ David J. Margules

David J. Margules (#2254)


cc: Kaitlin M. Gurney, Esquire (pro hac vice)
    Lauren P. Russell, Esquire
    All counsel of record (via CM/ECF)
